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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :
                     Plaintiff,              :
                                             :
          v.                                 :     Civ. No. 18-2044
                                             :
ST. JOSEPH’S UNIVERSITY, et al.              :
                 Defendants.                 :

                                       ORDER

       AND NOW, this 15th day of May, 2018, it is hereby ORDERED that Defendant St.

Joseph’s University shall RESPOND to Plaintiff John Doe’s Motion for Temporary Restraining

Order no later than 4:00 p.m. on May 16, 2018.

       It is FURTHER ORDERED that a hearing on the Motion will be held on Thursday,

May 17, 2018 at 1:00 p.m. in Courtroom 14A, United States District Court, 601 Market

Street, Philadelphia, PA 19106.




                                                       AND IT IS SO ORDERED.

                                                       /s/ Paul S. Diamond
                                                       _________________________
                                                       Paul S. Diamond, J.
